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           EXHIBIT “E”
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NVB 5009−1 (Rev. 2/16)


                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA


 IN RE:                                                        BK−23−10056−mkn
                                                               CHAPTER 7
 TERESA RENITA BURWELL


                                   Debtor(s)                   ORDER DISCHARGING
                                                               TRUSTEE AND CLOSING OF
                                                               CASE (DISCHARGE DENIED)




An Order Denying Discharge for the following debtor(s):

      TERESA RENITA BURWELL

was entered in this case. Therefore, IT IS ORDERED that:

      TROY S. FOX, Trustee


is discharged as trustee of the estate of the above named debtor(s) and the Bankruptcy is hereby closed.



Dated: 4/17/23


                                                           Mary A. Schott
                                                           Clerk of Court
